                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                                            No. CR14-4088-8-MWB
                 Plaintiff,
 vs.
                                                      MEMORANDUM OPINION AND
 INGMAR HERNANDEZ,                                       ORDER REGARDING
                                                      MAGISTRATE’S REPORT AND
                                                         RECOMMENDATION
                 Defendant.
                                                       CONCERNING MOTION TO
                                                              DISMISS

                                ___________________________

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                   I.      INTRODUCTION AND BACKGROUND
      In a seventeen-count Indictment returned on November 20, 2014, defendant
Ingmar Hernandez is charged with conspiring to obstruct justice, in violation of 18
U.S.C. § 371.1 Specifically, the Indictment alleges, in pertinent part, that:
             10. On April, 29, 2013, LEVON VARNE DEAN SR.,
             (A/K/A LEE DEAN), STEFFAN DEAN, KIMBERLY
             SMITH, MONICA ROCHA-CONTRERAS, EVETTE
             MORRIS-HERNANDEZ,              ESTEBAN        HERNANDEZ,
             ANNA BAKER, and INGMAR HERNADEZ [sic], all
             learned federal authorities were searching for Jamal Dean
             before they completed their interaction with Jamal Dean on or
             about April 29, 2013.2
                    ....
             THE OBJECTS OF THE CONSPIRACY
             13. From on or about April 29, 2013, and continuing until
             about September 1, 2013, within the Northern District of
             Iowa and elsewhere, Jamal Dean and defendants, LEVON
             DEAN SR., (A/K/A LEE DEAN), STEFFAN DEAN,
             KIMBERLY SMITH, MONICA ROCHA-CONTRERAS,
             EVETTE          MORRIS-HERNANDEZ,                 ESTEBAN
             HERNANDEZ,         ANNA        BAKER,      and     INGMAR
             HERNADEZ, and others known and unknown to the grand
             jury, knowingly and willfully conspired and agreed together
             and with each other, (and with other persons both known and
             unknown to the grand jury), to defraud the United States of


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        In addition to conspiracy to obstruct justice, Hernandez’s seven co-defendants are
also charged with making false statements, in violation of 18 U.S.C. § 1001, concealing
evidence, in violation of 18 U.S.C. § 1519, accessory after the fact to the possession of
a firearm by a prohibited person, in violation of 18 U.S.C. § 3, and misprision of a
felony, in violation of 18 U.S.C. § 4.
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       Hernandez’s last name is misspelled throughout the Indictment.

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        and concerning its governmental functions and rights,
        hereafter described, that is: they conspired to interfere with
        and obstruct legitimate governmental activities of the United
        States Department of Justice (e.g., the United States Marshals
        Service (“USMS”) and the Bureau of Alcohol, Tobacco,
        Firearms, and Explosives (“ATF”)) by interfering with and
        obstructing the federal investigation into the events of April
        29, 2013, and the federal effort to assist in the apprehension
        of Jamal Dean, by deceit, craft, trickery, and by means that
        were dishonest.
        THE MANNER AND MEANS OF THE CONSPIRACY
        14. It was a part of the conspiracy that the defendants would
        by deceit, craft, trickery and dishonest means, defraud the
        United States by interfering with and obstructing the lawful
        governmental functions of the United States Department of
        Justice (e.g., the USMS and ATF) in that the defendants
        would receive, relieve, comfort, assist, and conceal Jamal
        Dean in his attempt to avoid capture and questioning.
        15. It was further a part of the conspiracy that the defendants
        would make materially false, fictitious, and fraudulent
        statements or representations to the United States Department
        of Justice (e.g., the United States Marshals Service and the
        Bureau of Alcohol, Tobacco, Firearms, and Explosives).
        16. It was still further a part of the conspiracy that the
        defendants would alter, destroy, mutilate, conceal, cover up,
        falsify, or make false entry in any record, document, or
        tangible object.
        OVERT ACTS
        17. In furtherance of the conspiracy and to affect the objects
        of the conspiracy, the following overt acts, among others,
        were committed in the Northern District of Iowa and
        elsewhere:


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        Before Arrest of Jamal Dean
              ....
        H. On or about April 29, 2013, Jamal Dean used
        KIMBERLY SMITH’S and STEFFAN DEAN’S home phone
        to Call [sic] INGMAR HERNANDEZ and arranged for his
        (i.e., Jamal Dean’s) transportation from KIMBERLY
        SMITH’S and STEFFAN DEAN’S home in Sioux City, Iowa
        to South Sioux City, Nebraska.
        I. On or about April 29, 2013, MONICA ROCHA-
        CONTRERAS and INGMAR HERNADEZ picked-up Jamal
        Dean from KIMBERLY SMITH and STEFFAN DEAN’S
        home in a black 2003 Cadillac sedan.
        J.   On or about April 29, 2013, MONICA-ROCHA
        CONTRERAS and INGMAR HERNADEZ transported
        Jamal Dean from KIMBERLY SMITH’S and STEFFAN
        DEAN’S home to South Sioux City, Nebraska.
        K. On or about April 29, 2013, MONICA ROCHA-
        CONTRERAS and INGMAR HERNADEZ transported
        Jamal Dean to a location near West 7th Street in South Sioux
        City, Nebraska.
        L. On or about April 29, 2013, an unnamed conspirator
        known to the grand jury and Jamal Dean walked from a
        location near West 7th Street, South Sioux City, Nebraska to
        the home of an unnamed conspirator know to the grand jury
        near 5th Avenue in South Sioux City, Nebraska.
        M. On or about April 30, 2013, one or more conspirators
        arranged for the transportation of Jamal Dean from the
        residence near 5th Avenue South Sioux City, Nebraska to
        ANNA BAKER’S home on the Winnebago Reservation in
        Winnebago, Nebraska.
        N. On or about April 30, 2013, EVETTE MORRIS-
        HERNANDEZ and ESTEBAN HERNANDEZ picked-up

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              Jamal Dean and INGMAR HERNADEZ at the residence near
              5th Avenue South Sioux City, Nebraska in a 1999 Dodge
              Durango sports utility vehicle.
              O. On or about April 30, 2013, EVETTE MORRIS-
              HERNANDEZ and ESTEBAN HERNANDEZ transported
              Jamal Dean from the residence near 5th Avenue, South Sioux
              City, Nebraska to ANNA BAKER’S home on the Winnebago
              Reservation, in Winnebago, Nebraska.
              P. On or about April 30, 2013, ANNA BAKER welcomed
              EVETTE          MORRIS-HERNANDEZ,             ESTEBAN
              HERNANDEZ, INGMAR HERNADEZ, and Jamal Dean
              into her home on the Winnebago Reservation in Winnebago,
              Nebraska.
              Q. On or about April 30, 2013, ANNA BAKER, EVETTE
              MORRIS-HERNANDEZ,          ESTEBAN     HERNANDEZ,
              INGMAR HERNADEZ, and Jamal Dean discussed the
              shooting and what JAMAL DEAN’S next step should be.
Indictment at 4-9.
       Hernandez has filed a motion to dismiss. In his motion, Hernandez argues that,
even if the allegations in the Indictment are assumed to be true, the Indictment fails to
state a § 371 violation against him because his alleged actions did not target or defraud
the United States. The prosecution filed a timely resistance to Hernandez’s motion. The
prosecution contends that the factual allegations in the Indictment state a viable § 371
violation against Hernandez.
       Hernandez’s motion to dismiss was referred to United States Magistrate Judge
Leonard T. Strand, pursuant to 28 U.S.C. § 636(b). Judge Strand has filed a Report and
Recommendation in which he recommends that Hernandez’s motion to dismiss be denied.
Judge Strand concluded that, accepting all of the allegations in the Indictment as true, the
Indictment sufficiently describes a conspiracy that targeted the United States and of which


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Hernandez was a co-conspirator. Judge Strand also concluded that the Indictment’s
allegations against Hernandez sufficiently describe how he conspired to defraud the
United States. Therefore, Judge Strand recommended that Hernandez’s motion to dismiss
be denied.
      Hernandez has filed objections to Judge Strand’s Report and Recommendation.
The prosecution has filed a timely response to Hernandez’s objections. I, therefore,
undertake the necessary review of Judge Strand’s recommended disposition of
Hernandez’s motion to dismiss.


                               II.    LEGAL ANALYSIS

                               A.     Standard Of Review

      I review the magistrate judge’s report and recommendation pursuant to the
statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see FED. R. CIV. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
             Any party that desires plenary consideration by the Article III
             judge of any issue need only ask. Moreover, while the statute

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              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo
any issue in a magistrate judge’s report and recommendation at any time. Id. If a party
files an objection to the magistrate judge’s report and recommendation, however, the
district court must “make a de novo determination of those portions of the report or
specified proposed findings or recommendations to which objection is made.” 28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       De novo review, of course, is nondeferential and generally allows a reviewing
court to make an “independent review” of the entire matter. Salve Regina College v.
Russell, 499 U.S. 225, 238 (1991) (noting also that “[w]hen de novo review is compelled,
no form of appellate deference is acceptable”); see Doe v. Chao, 540 U.S. 614, 620-19
(2004) (noting de novo review is “distinct from any form of deferential review”). The
de novo review of a magistrate judge’s report and recommendation, however, only means
a district court “‘give[s] fresh consideration to those issues to which specific objection
has been made.’” United States v. Raddatz, 447 U.S. 667, 675 (1980) (quoting H.R.
Rep. No. 94-1609, at 3, reprinted in 1976 U.S.C.C.A.N. 6162, 6163 (discussing how
certain amendments affect 28 U.S.C. § 636(b))). Thus, while de novo review generally
entails review of an entire matter, in the context of § 636 a district court’s required de
novo review is limited to “de novo determination[s]” of only “those portions” or
“specified proposed findings” to which objections have been made.                28 U.S.C. §
636(b)(1); see Thomas, 474 U.S. at 154 (“Any party that desires plenary consideration


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by the Article III judge of any issue need only ask.” (emphasis added)). Consequently,
the Eighth Circuit Court of Appeals has indicated de novo review would only be required
if objections were “specific enough to trigger de novo review.” Branch v. Martin, 886
F.2d 1043, 1046 (8th Cir. 1989). Despite this “specificity” requirement to trigger de
novo review, the Eighth Circuit Court of Appeals has “emphasized the necessity . . . of
retention by the district court of substantial control over the ultimate disposition of matters
referred to a magistrate.” Belk v. Purkett, 15 F.3d 803, 815 (8th Cir. 1994). As a result,
the Eighth Circuit Court of Appeals has been willing to “liberally construe[]” otherwise
general pro se objections to require a de novo review of all “alleged errors,” see Hudson
v. Gammon, 46 F.3d 785, 786 (8th Cir. 1995), and to conclude that general objections
require “full de novo review” if the record is concise, Belk, 15 F.3d at 815 (“Therefore,
even had petitioner’s objections lacked specificity, a de novo review would still have been
appropriate given such a concise record.”). Even if the reviewing court must construe
objections liberally to require de novo review, it is clear to me that there is a distinction
between making an objection and making no objection at all. See Coop. Fin. Assoc.,
Inc. v. Garst, 917 F. Supp. 1356, 1373 (N.D. Iowa 1996) (“The court finds that the
distinction between a flawed effort to bring objections to the district court’s attention and
no effort to make such objections is appropriate.”). Therefore, I will strive to provide
de novo review of all issues that might be addressed by any objection, whether general
or specific, but will not feel compelled to give de novo review to matters to which no
objection at all has been made.
       In the absence of any objection, the Eighth Circuit Court of Appeals has indicated
a district court should review a magistrate judge’s report and recommendation under a
clearly erroneous standard of review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th
Cir. 1996) (noting when no objections are filed and the time for filing objections has
expired, “[the district court judge] would only have to review the findings of the

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magistrate judge for clear error”); Taylor v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990)
(noting the advisory committee’s note to FED. R. CIV. P. 72(b) indicates “when no timely
objection is filed the court need only satisfy itself that there is no clear error on the face
of the record”); Branch, 886 F.2d at 1046 (contrasting de novo review with “clearly
erroneous standard” of review, and recognizing de novo review was required because
objections were filed). I am unaware of any case that has described the clearly erroneous
standard of review in the context of a district court’s review of a magistrate judge’s report
and recommendation to which no objection has been filed. In other contexts, however,
the Supreme Court has stated the “foremost” principle under this standard of review “is
that ‘[a] finding is “clearly erroneous” when although there is evidence to support it, the
reviewing court on the entire evidence is left with the definite and firm conviction that a
mistake has been committed.’” Anderson v. City of Bessemer City, 470 U.S. 564, 573-
74 (1985) (quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Thus,
the clearly erroneous standard of review is deferential, see Dixon v. Crete Med. Clinic,
P.C., 498 F.3D 837, 847 (8th Cir. 2007) (noting a finding is not clearly erroneous even
if another view is supported by the evidence), but a district court may still reject the
magistrate judge’s report and recommendation when the district court is “left with a
definite and firm conviction that a mistake has been committed,” U.S. Gypsum Co., 333
U.S. at 395.
       Even though some “lesser review” than de novo is not “positively require[d]” by
statute, Thomas, 474 U.S. at 150, Eighth Circuit precedent leads this court to believe
that a clearly erroneous standard of review should generally be used as the baseline
standard to review all findings in a magistrate judge’s report and recommendation that
are not objected to or when the parties fail to file any timely objections, see Grinder, 73
F.3d at 795; Taylor, 910 F.2d at 520; Branch, 886 F.2d at 1046; see also FED. R. CIV.
P. 72(b) advisory committee’s note (“When no timely objection is filed, the court need

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only satisfy itself that there is no clear error on the face of the record in order to accept
the recommendation.”). In the context of the review of a magistrate judge’s report and
recommendation, I believe one further caveat is necessary: a district court always
remains free to render its own decision under de novo review, regardless of whether it
feels a mistake has been committed. See Thomas, 474 U.S. at 153-54. Thus, while a
clearly erroneous standard of review is deferential and the minimum standard appropriate
in this context, it is not mandatory, and I may choose to apply a less deferential standard.3

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        The Eighth Circuit Court of Appeals, in the context of a dispositive matter
originally referred to a magistrate judge, does not review a district court’s decision in
similar fashion. The Eighth Circuit Court of Appeals will either apply a clearly erroneous
or plain error standard to review factual findings, depending on whether the appellant
originally objected to the magistrate judge’s report and recommendation. See United
States v. Brooks, 285 F.3d 1102, 1105 (8th Cir. 2002) (“Ordinarily, we review a district
court’s factual findings for clear error . . . . Here, however, the record reflects that [the
appellant] did not object to the magistrate’s report and recommendation, and therefore
we review the court’s factual determinations for plain error.” (citations omitted)); United
States v. Looking, 156 F.3d 803, 809 (8th Cir. 1998) (“[W]here the defendant fails to
file timely objections to the magistrate judge’s report and recommendation, the factual
conclusions underlying that defendant’s appeal are reviewed for plain error.”). The plain
error standard of review is different than a clearly erroneous standard of review, see
United States v. Barth, 424 F.3d 752, 764 (8th Cir. 2005) (explaining the four elements
of plain error review), and ultimately the plain error standard appears to be discretionary,
as the failure to file objections technically waives the appellant’s right to appeal factual
findings, see Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994) (stating an appellant
who did not object to the magistrate judge’s report and recommendation waives his or
her right to appeal factual findings, but then choosing to “review[] the magistrate judge’s
findings of fact for plain error”). An appellant does not waive his or her right to appeal
questions of law or mixed questions of law and fact by failing to object to the magistrate
judge’s report and recommendation. United States v. Benshop, 138 F.3d 1229, 1234
(8th Cir. 1998) (“The rule in this circuit is that a failure to object to a magistrate judge’s
report and recommendation will not result in a waiver of the right to appeal ‘”when the
questions involved are questions of law or mixed questions of law and fact.”’” (quoting



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      As noted above, Hernandez has filed objections to Judge Strand’s Report and
Recommendation.      I, therefore, undertake the necessary review of Judge Strand’s
recommended disposition of Hernandez’s motion to dismiss.



                            B.     Objections To Report and
                                       Recommendation

      1.     Conspiring to defraud the United States
      Hernandez objects to Judge Strand’s conclusion that the Indictment adequately
alleges that he conspired to defraud the United States. He argues that the Indictment
merely alleges that he was “going along for a ride” and, thus, it does not allege that he
was defrauding the United States.      The prosecution responds that the Indictment’s
allegations of active concealment and obstruction adequately plead a conspiracy to
defraud under § 371.
      “Indictments are normally sufficient unless no reasonable construction can be said
to charge the offense.” United States v. Peterson, 867 F.2d 1110, 1114 (8th Cir. 1989).
“In reviewing the sufficiency of an indictment, [the court] accept[s] the government's
allegations as true, without reference to allegations outside the indicting document.”
United States v. Steffen, 687 F.3d 1104, 1107 n. 2 (8th Cir. 2012) (quoting United States



Francis v. Bowen, 804 F.2d 103, 104 (8th Cir. 1986), in turn quoting Nash v. Black,
781 F.2d 665, 667 (8th Cir. 1986))). In addition, legal conclusions will be reviewed de
novo, regardless of whether an appellant objected to a magistrate judge’s report and
recommendation. See, e.g., United States v. Maxwell, 498 F.3d 799, 801 n.2 (8th Cir.
2007) (“In cases like this one, ‘where the defendant fails to file timely objections to the
magistrate judge’s report and recommendation, the factual conclusions underlying that
defendant’s appeal are reviewed for plain error.’ We review the district court’s legal
conclusions de novo.” (citation omitted)).

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v. Farm & Home Sav. Ass'n, 932 F.2d 1256, 1259 n. 3 (8th Cir .1991)). As the Eighth
Circuit Court of Appeals has observed:
             “An indictment adequately states an offense if ‘it contains all
             of the essential elements of the offense charged, fairly informs
             the defendant of the charges against which he must defend,
             and alleges sufficient information to allow a defendant to
             plead a conviction or acquittal as a bar to a subsequent
             prosecution. An indictment will ordinarily be held sufficient
             unless it is so defective that it cannot be said, by any
             reasonable construction, to charge the offense for which the
             defendant was convicted.’”
United States v. Mann, 701 F.3d 274, 288 (8th Cir. 2012) (quoting United States v.
Sewell, 513 F.3d 820, 821 (8th Cir. 2008) (quoting in turn United States v. Hernandez,
299 F.3d 984, 992 (8th Cir. 2002)); accord Steffen, 687 F.3d at 1109; see also United
States v. Polychron, 841 F.2d 833, 834 (8th Cir. 1988) (“In order to be valid, an
indictment must allege that the defendant performed acts which, if proven, constitute the
violation of law for which he is charged. If the facts alleged in the indictment do not
constitute a violation of law, the indictment is properly dismissed.”). “An indictment is
normally sufficient if its language tracks the statutory language.” Sewell, 513 F.3d at
821.
       “Section 371 proscribes two distinct types of conspiracies: conspiracies to commit
a specific crime and conspiracies to defraud the United States.” United States v. Murphy,
957 F.2d 550, 553 (8th Cir. 1992); see United States v. Rozin, 664 F.3d 1052, 1065 (6th
Cir. 2012); United States v. Alston, 77 F.3d 713, 718 (3d Cir. 1996); United States v.
Brandon, 17 F.3d 409, 422 (1st Cir. 1994); United States v. Tham, 960 F.2d 1391, 1399
(9th Cir. 1991); United States v. Haga, 821 F.2d 1036, 1039 (5th Cir. 1987). Here,
Hernandez is charged with the second, more general, type of conspiracy. To convict
Hernandez of conspiring to defraud the United States under § 371, the prosecution must

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prove “an agreement to defraud the federal government and an act by one or more of the
conspirators to effect the object of the conspiracy.” Murphy, 957 F.2d at 552; United
States v. Campbell, 848 F.2d 846, 851 (8th Cir. 1988); see also United States v.
Caldwell, 989 F.2d 1056, 1059 (9th Cir. 1993). Conspiracy to defraud the United States
does not require proof of an agreement to violate a specific federal statute or regulation.
United States v. Gjerde, 110 F.3d 595, 601 (8th Cir. 1997). “Defrauding” under § 371
means obstructing the operation of any government agency by any “deceit, craft or
trickery, or at least by means that are dishonest.” Hammerschmidt v. United States, 265
U.S. 182, 188 (1924); see Murphy, 957 F.2d at 553. The prosecution need not have
direct evidence of an explicit agreement. Instead, a “tacit understanding” among co-
conspirators may be inferred from circumstantial evidence. See United States v. Rojas,
356 F.3d 876, 879 (8th Cir. 2004); United States v. Nambo–Barajas, 338 F.3d 956, 960–
61 (8th Cir. 2003); United States v. Pintar, 630 F.2d 1270, 1275 (8th Cir. 1980).
       Hernandez’s initial objection appears to be based on his mistaken assumption that
he must have personally committed an overt act in furtherance of the conspiracy to be
convicted under § 371. The flaw in this assumption is that it is not necessary that
Hernandez personally committed an overt act, if he was one of the conspirators when
such an act was committed. It is well settled that, for the purposes of proving that a
conspiracy exists, the overt acts of one co-conspirator may be imputed to all of the co-
conspirators. See United States v. Mohammed, 600 F.3d 1000, 1007 (8th Cir. 2010)
(“The requisite overt act is satisfied by a single overt act committed by one
coconspirator”) (citing United States v. Falcone, 311 U.S. 205, 210 (1940));see also
United States v. Enstam, 622 F.2d 857, 867 (5th Cir. 1980) (only necessary for one co-
conspirator to commit overt act); United States v. Veltre, 591 F.2d 347, 350 (5th Cir.
1979) (once conspiracy shown, proof of single overt act done in furtherance of conspiracy
establishes the guilt of each member). The United States Supreme Court has pointed out

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that “[t]he function of the overt act in a conspiracy prosecution is simply to manifest that
the conspiracy is at work and is neither a project still resting solely in the minds of the
conspirators nor a fully completed operation no longer in existence.” Yates v. United
States, 354 U.S. 298, 334 (1957) (internal quotation marks and citation omitted),
overruled on other grounds by Burks v. United States, 437 U.S. 1 (1978). Since the
reason for requiring proof of an overt act is to demonstrate that the conspiracy is
operative, the overt act may be lawful or unlawful conduct. United States v. Buckner,
610 F.2d 570, 573 (9th Cir. 1979); United States v. Miller, 491 F.2d 638, 644 (5th Cir.
1974).
         The Indictment alleges that on April 29, 2013, Hernandez and all of the
codefendants “learned federal authorities were searching for Jamal Dean.” Indictment
at 4. The Indictment goes on to allege that after learning this:


              From on or about April 29, 2013, and continuing until about
              September 1, 2013, within the Northern District of Iowa and
              elsewhere, Jamal Dean and defendants, LEVON DEAN SR.,
              (A/K/A LEE DEAN), STEFFAN DEAN, KIMBERLY
              SMITH, MONICA ROCHA-CONTRERAS, EVETTE
              MORRIS-HERNANDEZ,              ESTEBAN       HERNANDEZ,
              ANNA BAKER, and INGMAR HERNADEZ, and others
              known and unknown to the grand jury, knowingly and
              willfully conspired and agreed together and with each other,
              (and with other persons both known and unknown to the grand
              jury), to defraud the United States of and concerning its
              governmental functions and rights, hereafter described, that
              is: they conspired to interfere with and obstruct legitimate
              governmental activities of the United States Department of
              Justice (e.g., the United States Marshals Service (“USMS”)
              and the Bureau of Alcohol, Tobacco, Firearms, and
              Explosives (“ATF”)) by interfering with and obstructing the


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              federal investigation into the events of April 29, 2013, and
              the federal effort to assist in the apprehension of Jamal Dean,
              by deceit, craft, trickery, and by means that were dishonest.
              THE MANNER AND MEANS OF THE CONSPIRACY
              14. It was a part of the conspiracy that the defendants would
              by deceit, craft, trickery and dishonest means, defraud the
              United States by interfering with and obstructing the lawful
              governmental functions of the United States Department of
              Justice (e.g., the USMS and ATF) in that the defendants
              would receive, relieve, comfort, assist, and conceal Jamal
              Dean in his attempt to avoid capture and questioning.
              15. It was further a part of the conspiracy that the defendants
              would make materially false, fictitious, and fraudulent
              statements or representations to the United States Department
              of Justice (e.g., the United States Marshals Service and the
              Bureau of Alcohol, Tobacco, Firearms, and Explosives).
              16. It was still further a part of the conspiracy that the
              defendants would alter, destroy, mutilate, conceal, cover up,
              falsify, or make false entry in any record, document, or
              tangible object.
Indictment at 3-5.
       Thus, the Indictment sufficiently alleges that Hernandez entered into an agreement
to defraud the United States by taking actions to prevent Jamal Dean’s capture by federal
authorities. The Indictment then goes on to outline numerous overt acts taken by the co-
conspirators in furtherance of the conspiracy, alleging in pertinent part that:
                H. On or about April 29, 2013, Jamal Dean used
              KIMBERLY SMITH’S and STEFFAN DEAN’S home phone
              to Call [sic] INGMAR HERNANDEZ and arranged for his
              (i.e., Jamal Dean’s) transportation from KIMBERLY
              SMITH’S and STEFFAN DEAN’S home in Sioux City, Iowa
              to South Sioux City, Nebraska.

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         I. On or about April 29, 2013, MONICA ROCHA-
         CONTRERAS and INGMAR HERNADEZ picked-up Jamal
         Dean from KIMBERLY SMITH and STEFFAN DEAN’S
         home in a black 2003 Cadillac sedan.
         J.   On or about April 29, 2013, MONICA-ROCHA
         CONTRERAS and INGMAR HERNADEZ transported
         Jamal Dean from KIMBERLY SMITH’S and STEFFAN
         DEAN’S home to South Sioux City, Nebraska.
         K. On or about April 29, 2013, MONICA ROCHA-
         CONTRERAS and INGMAR HERNADEZ transported
         Jamal Dean to a location near West 7th Street in South Sioux
         City, Nebraska.
         L. On or about April 29, 2013, an unnamed conspirator
         known to the grand jury and Jamal Dean walked from a
         location near West 7th Street, South Sioux City, Nebraska to
         the home of an unnamed conspirator know to the grand jury
         near 5th Avenue in South Sioux City, Nebraska.
         M. On or about April 30, 2013, one or more conspirators
         arranged for the transportation of Jamal Dean from the
         residence near 5th Avenue South Sioux City, Nebraska to
         ANNA BAKER’S home on the Winnebago Reservation in
         Winnebago, Nebraska.
         N. On or about April 30, 2013, EVETTE MORRIS-
         HERNANDEZ and ESTEBAN HERNANDEZ picked-up
         Jamal Dean and INGMAR HERNADEZ at the residence near
         5th Avenue South Sioux City, Nebraska in a 1999 Dodge
         Durango sports utility vehicle.
         O. On or about April 30, 2013, EVETTE MORRIS-
         HERNANDEZ and ESTEBAN HERNANDEZ transported
         Jamal Dean from the residence near 5th Avenue, South Sioux
         City, Nebraska to ANNA BAKER’S home on the Winnebago
         Reservation, in Winnebago, Nebraska.


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              P. On or about April 30, 2013, ANNA BAKER welcomed
              EVETTE          MORRIS-HERNANDEZ,             ESTEBAN
              HERNANDEZ, INGMAR HERNADEZ, and Jamal Dean
              into her home on the Winnebago Reservation in Winnebago,
              Nebraska.
              Q. On or about April 30, 2013, ANNA BAKER, EVETTE
              MORRIS-HERNANDEZ,          ESTEBAN     HERNANDEZ,
              INGMAR HERNADEZ, and Jamal Dean discussed the
              shooting and what JAMAL DEAN’S next step should be.
Indictment at 7-9.
       These allegations, which I must accept as true, see United States v. Steffen, 687
F.3d 1104, 1107 n.2 (8th Cir. 2012), sufficiently identify multiple overt acts undertaken
by the co-conspirators in furtherance of the conspiracy.4 Accordingly, I have no difficulty
in finding that the Indictment sufficiently describes a § 371 conspiracy to defraud the
United States and Hernandez’s participation in that conspiracy. Thus, this objection is
overruled.
       2.     Target of conspiracy
       Hernandez also objects to Judge Strand’s conclusion that the Indictment
sufficiently alleges that the United States was the target of the conspiracy. He argues
that, because Jamal Dean was initially sought on a state arrest warrant for shooting a
local police officer, his actions could not have impaired a United States governmental
function. This argument misstates the Indictment’s allegations concerning the United

       4
         To the extent that Hernandez is arguing that he cannot be convicted on a § 371
charge because he was merely present, that argument is premature and is a jury question.
“‘A [criminal] defendant is entitled to a theory of [the] defense instruction,’ such as a
“‘mere presence’” instruction, if the instruction “‘is timely requested, supported by the
evidence, and correctly states the law.’” United States v. Cantrell, 530 F.3d 684, 692
(8th Cir. 2009) (quoting United States v. Meads, 479 F.3d 598, 601 (8th Cir. 2007)).


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States’s involvement in the search for Jamal Dean. The Indictment alleges that, shortly
after an armed robbery on April 15, 2013, Jamal was investigated by state and federal
authorities for both state and federal criminal violations, including possession of a firearm
and ammunition by a felon. Indictment at 3. The Indictment goes on to allege that this
joint state and federal investigation was still underway on April 24, 2013, when Jamal
committed a second armed robbery. Id. The Indictment next alleges that, after a state
arrest warrant was issued for Jamal on April 24, 2013, both local and federal law
enforcement officers began searching for him. Id. It is further alleged that a second
state arrest warrant was issued for Jamal on April 29, 2013, after he shot a local police
officer. Id. at 3–4. At this juncture, the United States Marshals Service is alleged to
have joined the search for Dean. Significantly, the Indictment alleges that on this same
date, Hernandez and his co-conspirators “learned federal authorities were searching for
Jamal Dean.” Id. After learning this, it is alleged that Hernandez was involved in
transporting Jamal on April 29 and 30, 2013, and participated in discussions about what
actions Jamal should take in response to the investigation. Moreover, other conspirators
are alleged to have taken specific overt actions to frustrate the federal investigation,
including destroying evidence and lying to federal law enforcement officers. Id. at 10,
13. I find that these allegations are sufficient to state a claim that Hernandez was part of
a conspiracy that targeted the United States within the meaning of § 371. Thus, this
objection is also overruled.


                                  III.   CONCLUSION
       Therefore, for the reasons discussed above, I, upon a de novo review of the record,
accept Judge Strand’s Report and Recommendation and deny defendant Hernandez’s
motion to dismiss.



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   IT IS SO ORDERED.
   DATED this 4th day of March, 2015.



                                 ______________________________________
                                 MARK W. BENNETT
                                 U.S. DISTRICT COURT JUDGE
                                 NORTHERN DISTRICT OF IOWA




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